
121 B.R. 609 (1990)
In the Matter of Joann Griffin RUTLEDGE, Debtor.
TOYOTA MOTOR CREDIT, Appellant,
v.
Joann Griffin RUTLEDGE, Appellee.
Civ. A. No. 90-A-01181-W, Bankruptcy No. 89-02301, Adv. No. AP89-0221.
United States District Court, N.D. Alabama, W.D.
November 7, 1990.
John H. England, Tuscaloosa, Ala., for debtor/plaintiff.
C. Stephen Alexander, Birmingham, Ala., for defendant.

MEMORANDUM OPINION
ALLGOOD, Senior District Judge.
This is an appeal from the United States Bankruptcy Court, Northern District of Alabama, Western Division. The issue on appeal is whether the collateral in question is part of the debtor's estate.
The findings of fact and conclusions of law are clearly stated by the very able Bankruptcy Judge in his Memorandum of Decision. After reviewing the record and considering the arguments of the parties, this court AFFIRMS the decision of the Bankruptcy Judge and adopts his opinion in its entirety, as published at 115 B.R. 344.
An order in conformity with this memorandum opinion will be entered.
